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    AO 91 (Rev. 11/11) Criminal Complaint


                                         UNITED STATES DISTRICT COURT                                               FILED IN THE
                                                                  for the                                       U.S. DISTRICT COURT
                                                                                                          EASTERN DISTRICT OF WASHINGTON
                                                    Eastern District
                                                   __________        of Washington
                                                               District of __________
                                                                                                           Mar 25, 2022
                      United States of America                       )
                                                                                                               SEAN F. MCAVOY, CLERK
                                 v.                                  )
                                                                     )       Case No.0--3+
                                                                     )
                 FRANCISCO ANGULO-RIVERA                             )
                                                                     )
                                                                     )
                              Defendant(s)


                                                   CRIMINAL COMPLAINT
             I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
    On or about the date(s) of                  March 25, 2022              in the county of               Yakima                  in the
          Eastern          District of         Washington        , the defendant(s) violated:

                Code Section                                                      Offense Description
    21 U6&841(a)(1) E  $ YLLL                  DistributLRQRI*UDPVRU0RUHRI$FWXDO 3XUH 0HWKDPSKHWDPLQH




             This criminal complaint is based on these facts:




             ✔ Continued on the attached sheet.
             u                                                                                               Digitally signed by MICHAEL
                                                                                                             MINOW
                                                                                                             Date: 2022.03.25 13:17:00
                                                                                                             -07'00'
                                                                                                Complainant’s signature

                                                                                      0LFKDHO0LQRZ6SHFLDO$JHQW'($
✔   6ZRUQWRWHOHSKRQLFDOO\DQGVLJQHGHOHFWURQLFDOO\                                            Printed name and title

    Sworn to before me and signed in my presence.


    Date:             03/25/2022
                                                                                                   Judge’s signature

    City and state:                      Yakima, Washington                       JAMES P. HUTTON, U.S. Magistrate Judge
                                                                                                 Printed name and title


       $86$ TMS                             &2817< YAKIMA
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AUSA Assigned: Todd M. Swensen

County: Yakima

In Re: Affidavit in Support of Criminal Complaint – Francisco Erasmo Angulo-
       RIVERA

           AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

      1.     I, Michael Minow, Special Agent of the Drug Enforcement

Administration (DEA), am currently assigned to the Yakima Resident Office in the

Seattle Field Division. I am a criminal investigator of the United States within the

definition of 18 U.S.C. § 2510(7) and am empowered by law to conduct

investigations and to make arrests for offenses enumerated in Titles 18 and 21 of

the United States Code.

      2.     I have been employed by the DEA since July 2017 and have been

responsible for investigating violations of federal law including violations of the

Controlled Substances Act. Prior to my employment with the DEA, I was a City of

Chicago police officer from September 2010 through July 2017. In my current

capacity as a DEA special agent, I have been assigned duties which include, but

are not limited to, debriefing of defendants, witnesses, and informants,

investigating crimes enumerated in the Controlled Substance Act, executing

search/arrest warrants, collecting drug and non-drug evidence, supervision of

cooperating individuals, monitoring drug related conversations, telephone toll

analysis, and testifying before grand juries, and in state and federal court.
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      3.     Additionally, I have participated in criminal investigations involving

drug trafficking. This participation includes acting as the case agent, working in an

undercover capacity, and assisting other law enforcement officers. Through this

participation, and my training and experience, I have gained an understanding of

the manner in which controlled substances are manufactured, transported,

smuggled and distributed, and have come to understand the various roles members

of a drug-trafficking organization serve in furtherance of the organization’s drug-

trafficking and money-laundering activities.

      4.     In addition, I have provided investigative expertise and assistance to

various agents of the DEA and other law enforcement agencies in their

investigations of individuals, organizations, and businesses involved in the

trafficking of illegal controlled substances. As a result of this, I have encountered,

and become familiar with, various tools, methods, trends, paraphernalia, and

related articles utilized by various traffickers in their efforts to import, conceal,

distribute, and manufacture controlled substances.

                       PROBABLE CAUSE STATEMENT

      5.     In February 2021, members of the Drug Enforcement Administration

(DEA) Yakima Resident Office initiated an investigation into the drug-trafficking

activities of Francisco Erasmo Angulo-RIVERA (RIVERA) in the Yakima, WA

area. Throughout the course of the investigation, the DEA conducted six controlled
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purchases resulting in the seizure of approximately 1,983 grams (or 4.3 pounds) of

methamphetamine and approximately 447 grams (or 2,100 pills) of fentanyl-laced

pills directly from RIVERA. Each of the controlled purchases was conducted

utilizing a DEA confidential source (CS). Additionally, each of the controlled

purchases was audio and video recorded.

      On or about June 10, 2021, the DEA special agents conducted a controlled

purchase of suspected methamphetamine from RIVERA totaling approximately

one pound (430 grams) of methamphetamine. The controlled purchase was

conducted utilizing a DEA Confidential Source (CS) to whom RIVERA provided

the methamphetamine. The suspected methamphetamine field-tested presumptive

positive for methamphetamine and subsequently sent to the DEA Western

Regional Laboratory (WRL) for further analysis. In February, the WRL’s chemical

analysis revealed that the substance was identified as Methamphetamine

Hydrochloride with an 88% purity level, resulting in approximately 378 grams of

actual (pure) methamphetamine.

      On March 25, 2022, members of the DEA Yakima Resident Office executed

a federal search warrant on the residence of RIVERA at 420 W. 3rd St., Wapato,

WA. Upon execution of the search warrant, agents located approximately 3.3

grams of methamphetamine and approximately 20 grams of Marijuana.
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      On the same date, post-Miranda, RIVERA stated that he does not sell drugs,

and “doesn’t mess with” methamphetamine or fentanyl-laced pills. RIVERA

further stated he only smokes weed.

      I declare under penalty of perjury that the foregoing is true and correct to the

best of my knowledge and belief.


                                                        Digitally signed by
                                                        MICHAEL MINOW
                                                        Date: 2022.03.25
                                       ______________________
                                                        13:17:26 -07'00'

                                       Michael Minow
                                       Special Agent
                                       Drug Enforcement Administration


SWORN TO telephonically and subscribed electronically this 25th day of March
2022.




                                             _______________________
                                       __________________________
                                              blle James P.
                                       Honorable         P Hutton
                                       United States Magistrate Judge
